           Case 1:20-cv-06318-LTS-BCM Document 8 Filed 10/19/20 Page 1 of 2



 1   Evan J. Smith
     BRODSKY & SMITH, LLC
 2   240 Mineola Boulevard
     First Floor
 3
     Mineola, NY 11501
 4   Telephone:    516.741.4977
     Facsimile:    516.741.0626
 5   esmith@brodskysmith.com
 6   Attorneys for Plaintiff
 7
                                 UNITED STATES DISTRICT COURT
 8
                                SOUTHERN DISTRICT OF NEW YORK
 9
     GINA HUTCHINGS, on behalf of herself
10   and those similarly situated,             Case No.: 1:20-cv-06318-LTS
11                         Plaintiff,          NOTICE OF VOLUNTARY DISMISSAL
12                                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
                 v.
13   CHURCHILL CAPITAL CORP III,
     MICHAEL KLEIN, JEREMY PAUL
14   ABSON, GLENN AUGUST, MIKE ECK,
     BONNIE JONAS, MARK KLEIN,
15   MALCOLM S. MCDERMID, and
     KAREN MILLS.
16

17                             Defendants.
18

19
20

21

22

23

24

25

26
27

28


                                     -1-
          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
            Case 1:20-cv-06318-LTS-BCM Document 8 Filed 10/19/20 Page 2 of 2



 1          Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, plaintiff Gina Hutchings (“Plaintiff”) voluntarily dismisses this action with prejudice

 3 as to the Plaintiff’s individual claims and without prejudice as to the claims of the putative class.

 4 This notice of dismissal is being filed before service by Defendants of either an answer or a motion

 5 for summary judgment. Since no class has been certified and the dismissal is without prejudice as

 6 to the members of the putative class, notice of this dismissal is not required. Plaintiff’s dismissal

 7 of this Action is effective upon filing of this notice.

 8

 9 Dated: October 19, 2020                         BRODSKY & SMITH, LLC

10                                                 /s/ Evan J. Smith_____________
                                                   Evan J. Smith
11
                                                   240 Mineola Boulevard
12                                                 First Floor
                                                   Mineola, NY 11501
13                                                 Telephone:     516.741.4977
                                                   Facsimile:     516.741.0626
14                                                 esmith@brodskysmith.com
15

16                                                 Attorneys for Plaintiff

17

18

19
20

21

22

23

24

25

26
27

28


                                      -2-
           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
